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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF MW 14 0189
UNITED STATES OF AMERICA, No. 0

Plaintiff, GOVERNMENT’ S NOTICE OF REQUEST
FOR DETENTION

 

Vv.

Org dak
LASHAWN ANDREA LYNCH,

Defendant.

 

 

 

Plaintiff, United States of America, by and through its counsel
of record, hereby requests detention of defendant and gives notice
of the following material factors:

1. Temporary 10-day Detention Requested (§ 3142(d)) on the

 

following grounds:

 

a. present offense committed while defendant was on

release pending (felony trial), (sentencing),

(appeal), or on (probation) (parole); or

 
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b. defendant is an alien not lawfully admitted for
permanent residence; and
c. defendant may flee; or

d. pose a danger to another or the community.

 

X 2. Pretrial Detention Requested (§ 3142(e)) because no

 

condition or combination of conditions will reasonably

 

 

assure:
x a. the appearance of the defendant as required;
X b. safety of any other person and the community.

 

3. Detention Requested Pending Supervised Release/Probation

 

Revocation Hearing (Rules 32.1(a) (6), 46(d), and 18 U.S.C.

 

§ 3143 (a)):

a. +=defendant cannot establish by clear and convincing
evidence that he/she will not pose a danger to any
other person or to the community;

______— ib. ~defendant cannot establish by clear and convincing

evidence that he/she will not flee.

4. Presumptions Applicable to Pretrial Detention (18 U.S.C.

 

§ 3142 (e)):
a. Title 21 or Maritime Drug Law Enforcement Act

(“MDLEA”) (46 U.S.C. App. 1901 et seq.) offense with
10-year or greater maximum penalty (presumption of
danger to community and flight risk);

b. offense under 18 U.S.C. §§ 924(c), 956(a), 2332b, or
2332b(g) (5) (B) with 10-year or greater maximum

penalty (presumption of danger to community and

flight risk);

 
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offense involving a minor victim under 18 U.S.C.

§§ 1201, 1591, 2241, 2242, 2244(a) (1), 2245, 2251,
2251A, 2252 (a) (1)-(a) (3), 2252A(a) (1)-2252A(a) (4),
2260, 2421, 2422, 2423 or 2425 (presumption of danger
to community and flight risk);

defendant currently charged with an offense described
in paragraph 5a - Se below, AND defendant was
previously convicted of an offense described in
paragraph 5a - 5e below (whether Federal or
State/local), AND that previous offense was committed
while defendant was on release pending trial, AND the
current offense was committed within five years of
conviction or release from prison on the above-
described previous conviction (presumption of danger

to community) .

Government Is Entitled to Detention Hearing Under

 

 

§ 3142(f£) If the Case Involves:

 

 

a crime of violence (as defined in 18 U.S.C.

§ 3156(a) (4)) or Federal crime of terrorism (as
defined in 18 U.S.C. § 2332b(g) (5) (B)) for which
maximum sentence is 10 years’ imprisonment or more;
an offense for which maximum sentence is life
imprisonment or death;

Title 21 or MDLEA offense for which maximum sentence

is 10 years’ imprisonment or more;

 
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d.

any felony if defendant has two or more convictions
for a crime set forth in a-c above or for an offense
under state or local law that would qualify under a,
b, or c if federal jurisdiction were present, ora
combination or such offenses;

any felony not otherwise a crime of violence that
involves a minor victim or the possession or use of a
firearm or destructive device (as defined in 18
U.S.C. § 921), or any other dangerous weapon, or
involves a failure to register under 18 U.S.C.

§ 2250;

serious risk defendant will flee;

serious, risk defendant will (obstruct or attempt to
obstruct justice) or (threaten, injure, or intimidate

prospective witness or juror, or attempt to do so).

Government requests continuance of days for
detention hearing under § 3142(f) and based upon the

following reason(s):

 

 

 

 

 
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7. Good cause for continuance in excess of three days exists

in that:

 

 

 

 

Dated: January 30, 2014 Respectfully submitted,

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Assistant United States Attorney

Chief,

Criminal Division

emer Ht.Yn

RYAN'H. WEINSTEIN
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